                 Case 2:19-cv-03957-TJH-AS Document 1 Filed 11/18/16 Page 1 of 51 Page ID #:1

    JS 44 (Rev. 07/16)                                                      CIVIL COVER SHEET
    The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
    provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
    purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

    I. (a) PLAINTIFFS                                                                                         DEFENDANTS
             Radio Music License Committee, Inc.                                                              Global Music Rights, LLC
             1616 Westgate Circle                                                                             1100 Glendon Ave., Suite 2000
             Brentwood, Tennessee 37037                                                                       Los Angeles, California 90024

       (b)   County of Residence of First Listed Plaintiff          Williamson County, TN                     County of Residence of First Listed Defendant            Los Angeles, CA
                                    (EXCEPT IN US. PLAINTIFF CASES)                                                                  (IN US. PLAINTIFF CASES ONLY)
                                                                                                              NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                         THE TRACT OF LAND INVOLVED.

       (C) Attorneys (Firm Name, Address, and Telephone Number)                                                Attorneys (IfKnown)
             Peter J, Mooney, White and Williams LLP
             1650 Market Street
             One Liberty Place, Suite 1800
             Philadelphia, PA 19103-7395
             (215) 864-7164
    II. BASIS OF JURISDICTION (Place an                      "X" in One Box Only)               III. CITIZENSHIP OF PRINCIPAL PARTIES place an ‘X"„, One Boxfor Plaintiff
                                                                                                          (For Diversity Cases Only)                                        and One Box for Defendant)
    □l     U.S. Government              G23    Federal Question                                                                     PTF       DEF                                         PTF      DEF
              Plaintiff                          (U.S. Government blot a Party)                      Citizen of This State          □ 1       □ 1     Incorporated or Principal Place      □ 4      □4
                                                                                                                                                        of Business In This State

    □2     U.S. Government              □4     Diversity                                             Citizen of Another State          □ 2    □ 2     Incorporated and Principal Place    □ 5     □5
              Defendant                          (Indicate Citizenship ofParties in Item III)                                                            of Business In Another State

                                                                                                     Citizen or Subject of a           □ 3    □ 3     Foreign Nation                      □ 6     □6
                                                                                                       Foreign Country
    IV. NATURE OF SUIT (Place an                 "X" in One Box Only)
1             CONTRACT                                         TORTS                                   FORFEITURE/PENALTY                       BANKRUPTCY                     OTHER STATUTES             1
    QllO Insurance                        PERSONAL INJURY                PERSONAL INJURY             Q625 Drug Related Seizure           □ 422 Appeal 28 USC 158         □ 375 False Claims Act
    O 120 Marine                       Q 310 Airplane                  Q 365 Personal Injury -             of Property 21 USC 881        D 423 Withdrawal                □ 376 Qui Tam (31 USC
    Q 130 Miller Act                   □ 315 Airplane Product                Product Liability       Q 690 Other                               28 USC 157                       3729(a))
    Q 140 Negotiable Instrument                Liability               □ 367 Health Care/                                                                                □ 400 State Reappoitionment
    Q 150 Recoveiy of Overpayment      Q 320 Assault, Libel &                Pharmaceutical                                                ■PROPERTY RIGHTS              El 410 Antitrust
          & Enforcement of Judgment            Slander                       Personal Injury                                             O 820 Copyrights                □ 430 Banks and Banking
    Q 151 Medicare Act                 □ 330 Federal Employers’              Product Liability                                           O 830 Patent                    □ 450 Commerce
    Q 152 Recovery of Defaulted                Liability               Q 368 Asbestos Personal                                           O 840 Trademark                 □ 460 Deportation
          Student Loans                Q 340 Marine                          Injury Product                                                                              □ 470 Racketeer Influenced and
          (Excludes Veterans)          D 345 Marine Product                  Liability                           LABOR                     SOCIAL SECURITY                      Corrupt Organizations
    Q 153 Recoveiy of Overpayment              Liability                PERSONAL PROPERTY            0710 Fair Labor Standards           □ 861 HIA (1395ft)              □ 480 Consumer Credit
          of Veteran’s Benefits        Q 350 Motor Vehicle             Q 370 Other Fraud                    Act                          □ 862 Black Lung (923)          U 490 Cable/Sat TV
    Q 160 Stockholders’ Suits          Q 355 Motor Vehicle             Q 371 Truth in Lending        Q 720 Labor/Management              □ 863 DIWC/DIWW (405(g))        □ 850 Securities/Commodities/
    □ 190 Other Contract                      Product Liability        □ 380 Other Personal                 Relations                    □ 864 SSID Title XVI                   Exchange
    Q 195 Contract Product Liability   Q 360 Other Personal                  Property Damage         D 740 Railway Labor Act             □ 865 RSI (405(g))              □ 890 Other Statutory Actions
    Q 196 Franchise                           Injury                   □ 385 Property Damage         Q 751 Family and Medical                                            □ 891 Agricultural Acts
                                       PI 362 Personal Injury -              Product Liability              Leave Act                                                    □ 893 Environmental Matters
                                              Medical Malpractice                                    □ 790 Other Labor Litigation                                        □ 895 Freedom of Information
|        REAL PROPERTY                      CIVIL RIGHTS                PRISONER PETITIONS           Q791 Employee Retirement              FEDERAL TAX SUITS                    Act
    D 210 Land Condemnation            Q 440 Other Civil Rights          Habeas Corpus:                    Income Security Act           □ 870 Taxes (U.S. Plaintiff     □ 896 Arbitration
    Q 220 Foreclosure                  Q 441 Voting                    Q 463 Alien Detainee                                                     or Defendant)            □ 899 Administrative Procedure
    Q 230 Rent Lease & Ejectment       Q 442 Employment                Q 510 Motions to Vacate                                           □ 871 IRS—Third Party                  Act/Review or Appeal of
    Q 240 Torts to Land                Q 443 Housing/                        Sentence                                                          26 USC 7609                      Agency Decision
    Q 245 Tort Product Liability              Accommodations           Q 530 General                                                                                     □  950 Constitutionality of
    Q 290 All Other Real Property      Q 445 Amer. w/Disabilities -    Q 535 Death Penalty                IMMIGRATION                                                           State Statutes
                                              Employment                 Other:                      Q462 Naturalization Application
                                       Q 446 Amer. w/Disabilities -    Q 540 Mandamus & Other        0465 Other Immigration
                                              Other                    □ 550 Civil Rights                 Actions
                                       Q 448 Education                 Q 555 Prison Condition
                                                                       Q 560 Civil Detainee -
                                                                             Conditions of
                                                                             Confinement

    V. ORIGIN        (Place an “X" in One Box Only)
    ^jl    Original          q2   Removed from             q3         Remanded from             q4   Reinstated or      q      5 Transferred from     q6    Multidistrict          □ 8 Multidistrict
           Proceeding             State Court                         Appellate Court                Reopened                    Another District           Litigation -               Litigation -
                                                                                                                                 (specify)                  Transfer                   Direct File
                                           Cite the U.S. Civil Statute under which you are filing (Do not citejurisdictional statutes unless diversity)'.
                                            15U.S.C. §§2,26
    VI. CAUSE OF ACTION                    Brief description of cause:
                                           Seeking injunctive relief for violations of the federal antitrust laws.
    VII. REQUESTED IN                      □ CHECK IF THIS IS A CLASS ACTION                       DEMAND $                                  CHECK YES only if demanded in complaint:
         COMPLAINT:                            UNDER RULE 23, F.R.Cv.P                                                                       JURY DEMAND:         DYes       [gNo

    VIII. RELATED CASE(S)
          IF ANY                              (See instructions).                     C. Darnell Jones, II                                   DOCKET NUMBER 2:12-cv-5807-CDJ

    DATE
    11/18/2016
    FOR OFFICE USE ONLY

      RECEIPT #                     AMOUNT                                    APPLYING IFP                                     JUDGE                          MAG. JUDGE
Case 2:19-cv-03957-TJH-AS Document 1 Filed 11/18/16 Page 2 of 51 Page ID #:2


                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                     CASE MANAGEMENT TRACK DESIGNATION FORM

  Radio Music License Committee, Inc.,                                        CIVIL ACTION

                        v.
  Global Music Rights, LLC.                                                   NO.

 In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
 plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
 filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
 side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
 designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
 the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
 to which that defendant believes the case should be assigned.

 SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:

 (a) Habeas Corpus - Cases brought under 28 U.S.C. § 2241 through § 2255.                             ( )

 (b) Social Security - Cases requesting review of a decision of the Secretary of Health
     and Human Services denying plaintiff Social Security Benefits.                                  ( )

 (c) Arbitration - Cases required to be designated for arbitration under Local Civil Rule 53.2.      ( )

 (d) Asbestos - Cases involving claims for personal injury or property damage from
     exposure to asbestos.                                                                           ( )

 (e) Special Management - Cases that do not fall into tracks (a) through (d) that are
     commonly referred to as complex and that need special or intense management by
     the court. (See reverse side of this form for a detailed explanation of special
     management cases.)                                                                              (X)

 (f) Standard Management - Cases that do not fall into any one of the other tracks.                  ( )


 November 18, 2016                                                  Radio Music License Committee, Inc.
 Date                                                                   Attorney for
 215.864.7164                                                          MooneyP@ whiteandwilliams. com

 Telephone                           FAX Number                           E-Mail Address


 (Civ. 660) 10/02
          Case 2:19-cv-03957-TJH-AS Document 1 Filed 11/18/16 Page 3 of 51 Page ID #:3

                                                                 UNITED STATES DISTRICT COURT

FOR THE EASTERN DISTRICT OF PENNSYLVANIA — DESIGNATION FORM to be used by counsel to indicate the category of the case for the purpose of
assignment to appropriate calendar.

Address of Plaintiff: 1616 Westgate Circle. Brentwood, Tennessee 37027______________________________________________________________________________

Address of Defendant:       1100 Glendon Ave., Suite 2000, Los Angeles, California 90024________________ _________________________________________________

Place of Accident, Incident or Transaction:     The United States, including in this district where certain of Plaintiffs members reside._______________________________
                                                                        (Use Reverse Side For Additional Space)

Does this civil action involve a nongovernmental corporate party with any parent corporation and any publicly held corporation owning 10% or more of its stock?
 (Attach two copies of the Disclosure Statement Form in accordance with Fed.R.Civ.P. 7.1(a))                                Yesd No^f

Does this case involve multidistrict litigation possibilities?                                                                   Yesn         No^
RELATED CASE, IF ANY-.
Case Number: 2:12-cv-5807-CDJ___________ Judge C. Darnell Jones, II________________ Date Terminated:                       07/25/2015________________________________

Civil cases are deemed related when yes is answered to any of the following questions:

1. Is this case related to property included in an earlier numbered suit pending or within one year previously terminated action in this court?
                                                                                                                                  YesD        No0
2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit pending or within one year previously terminated
   action in this court?
                                                                                                                                Yes Cl    NoE?
3. Does this case involve the validity or infringement of a patent already in suit or any earlier numbered case pending or within one year previously
   terminated action in this court?                                                                                            YesCl      No®"


4. Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights case filed by the same individual?
                                                                                                                                  YesCl       NoET


CIVIL: (Place ✓ in ONE CATEGORY ONLY)

A. Federal Question Cases'.                                                                              B.   d,

 1. □ Indemnity Contract, Marine Contract, and All Other Contracts                                       1. □

2. □ FELA                                                                                                2. □
3. □ Jones Act-Personal Injury                                                                           3. □
4. sf Antitrust                                                                                          4. □
 5. □ Patent                                                                                             5. □
 6. □ Labor-Management Relations                                                                         6. □

 7. □ Civil Rights                                                                                       7. o
 8. □ Habeas Corpus                                                                                      8. □                                  Asbestos
 9. □ Securities Act(s) Cases                                                                            9. □

10. □ Social Security Review Cases                                                                                 (Please specify)

11. □ All other Federal Question Cases
          (Please specify)_____________________________________________ _

                                                                   ARBITRATION CERTIFICATION

I,      |     1          T. IftodhjgY                                      {Check Appropriate Category)
                         N 1 fy’VqnjCf__________ , counsel of record do hereby certify:
     □ Pursuant to Local Civil Rule 53.2, Section 3(c)(2), that to the best of my knowledge and belief, the damages recoverable in this civil action case exceed the sum of
S150,000.00 exclusive of interest and costs;
  so Relief other than monetaiy damages is sought.

DATE: November 18, 2016                                                                                                               37078
                                                         Attomey-at-Lato'                  V-                                      Attorney I.D.#
                                        NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

I certify that, to my knowledge, the within case is not related to any case now pending or within one year previously terminated action in this court
except as noted above.

            November 18, 2016                                                                                                         37078
DATE:
                                                            Attomey-at-i                                                               Attorney I.D.#
CIV. 609 (5/2012)
Case 2:19-cv-03957-TJH-AS Document 1 Filed 11/18/16 Page 4 of 51 Page ID #:4




                         UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF PENNSYLVANIA


                                 INFORMATION FORM


  Name: Peter I, Mooney                  Bar Id No.: 37078

  Firm: White and Williams LLP

  Address: 1650 Market Street. One Liberty Place, Suite 1800



  City: Philadelphia        State: PA    Zip Code*: 19103      - 7395

  Facsimile No: 215.789.7664           _________
                          Please return completed form to:

                                     Michael E. Kunz
                                       Clerk of Court
                                United States District Court
                         for the Eastern District of Pennsylvania
                                     U.S. Courthouse
                              601 Market Street, Room 2609
                               Philadelphia, PA 19106-1797

                                          - or -

                                        FAX to:

                                    (215)597-6390
                                    (267) 299-7135
                                    (610)434-6174

  * Please include zip code and 4-digit extension number

  □ Indicate here if you would like to receive information on the Pilot Fax Notice
  Program

  □ Indicate here if you would like to receive a Directory of Automated Services
Case 2:19-cv-03957-TJH-AS Document 1 Filed 11/18/16 Page 5 of 51 Page ID #:5




                        UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA




RADIO MUSIC LICENSE COMMITTEE,
INC.,                                            Civil Action No.

                      Plaintiff,

        V.                                       COMPLAINT
GLOBAL MUSIC RIGHTS, LLC,

                      Defendant.




                                   SUMMARY OF CLAIMS

       1.     Defendant Global Music Rights, LLC (“GMR”) is a new performing rights

organization (“PRO”) that grants radio stations and other consumers the right to perform works

that GMR claims are owned by the music composers, authors, and publishers who are its

affiliates. In reality, GMR is an unlawful monopolist that is deploying a calculated scheme to

extort the U.S. commercial radio industry. GMR has implicitly threatened to start suing radio

stations for copyright infringement beginning January 1, 2017 unless they agree to pay

supracompetive rates for a license to play the copyrighted songs in GMR’s repertory.

       2.     Although GMR has only been around since 2013, the fact that unregulated PROs,

like GMR, violate the antitrust laws has been established for 75 years. The two largest PROs,

ASCAP and BMI, have been subject to judicially-monitored consent decrees since the U.S.

Department of Justice (“DOJ”) first sued them back in the 1940s. Indeed, early this year, after

conducting a two-year investigation, the DOJ refused to amend the consent decrees after finding
Case 2:19-cv-03957-TJH-AS Document 1 Filed 11/18/16 Page 6 of 51 Page ID #:6




that they were still necessary to prevent the PROs from engaging in anticompetitive conduct.

The third PRO, SESAC, succumbed to private rate regulation for the next 20 years after the radio

industry sued it in 2012 for being a monopolist and this Court concluded that RMLC was likely

to prevail on the merits. See Radio Music License Comm., Inc. v. SESAC Inc. (“SESAC F), No.

12-cv-5807, 2013 WL 12114098 (E.D. Pa. Dec. 23, 2013); Radio Music License Comm., Inc. v.

SESAC, Inc. (“SESAC IF), 29 F. Supp. 3d 487 (E.D. Pa. 2014).

       3.      GMR brazenly seeks to do exactly what got ASCAP, BMI and SESAC into so

much trouble; it is trying to force the radio industry into paying exorbitant prices for a license to

the musical works it claims are covered by its repertory, with a credible threat of financially

ruinous copyright infringement litigation. Plaintiff Radio Music License Committee (“RMLC”)

brings this action on behalf of its members, comprising thousands of U.S. radio stations, to stop

GMR’s illegal activity.

       4.      GMR has been open and unapologetic about its unlawful objective.                    It

strategically hand-picked a critical mass of songwriters and publishers and lured them away from

ASCAP and BMI with a promise to pay them at least 30% more than ASCAP or BMI could pay

them, because ASCAP and BMI are constrained by their consent decrees (and SESAC is

similarly constrained by private rate regulation).      GMR’s goal was to create a small, but

indispensable repertory of “must-have” musical works that radio stations, as a practical matter,

could not avoid playing, so that those stations would have no choice but to purchase a license

from GMR at whatever rate GMR demanded. GMR accomplished its goal. In the words of its

founder, Irving Azoff: “We have a full roster of songwriters that nobody can, shall we say,

comfortably exist without.”




                                                  2
Case 2:19-cv-03957-TJH-AS Document 1 Filed 11/18/16 Page 7 of 51 Page ID #:7




       5.      GMR has doubled-down on its scheme by taking extra steps to insulate itself from

any attempt that a radio station might make to try to “comfortably exist without” a GMR license.

Not only has GMR aggregated rights to a “must have” repertory, but GMR also does not enable

radio stations to determine reliably what works are in its repertory at any given time. Thus, even

where a station is willing to try to operate without using GMR’s “must have” repertory, GMR

does not make available a feasible and reliable method that radio stations can use to determine,

with any level of confidence, what works they would need to avoid playing in order to operate

without risk of copyright infringement.

       6.      GMR also does not offer the kind of blanket license to all the works in their

repertories—with certain pro-competitive, efficiency benefits—that ASCAP and BMI offer, and

which were central to ASCAP’s and BMI’s ability to survive antitrust challenges (albeit subject

to consent decree and court oversight). Worse, GMR only controls 100% performance rights for

a small percentage of its works. For most works in its repertory, GMR offers only to license a

“fractional” interest in the work, not the whole work. For those “fractional rights,” a license

from GMR does not give radio stations the right to perform the work; they still must obtain a

separate license from each of the other copyright owners. There are still other works in GMR’s

repertory that are jointly owned by multiple copyright holders and each has the right to license

the full work. But GMR does not tell radio stations, in any reliable, transparent way, which of its

works it has the full right to license and which works it only offers to license “fractionally,” at

any given time.   Thus, radio stations have no way to determine what value, if any, a GMR

license actually provides or whether they even truly need a license at all. This obfuscation is all

intentional. GMR knows that if it were truly transparent about the works in its repertory, some

radio stations may seek to avoid playing works that are not covered by their licenses from other




                                                 3
Case 2:19-cv-03957-TJH-AS Document 1 Filed 11/18/16 Page 8 of 51 Page ID #:8




PROs and thus conclude that they do not need to purchase a GMR license. That, however,

would be contrary to GMR’s business model, so it has taken steps to make sure that stations

cannot do so.

        7.      Second, GMR has entered into de facto exclusive licenses with its affiliates that,

as a practical matter, prevent radio stations from obtaining copyright licenses directly from those

affiliates. GMR does not offer any type of “carve out” from the price of its blanket license. That

means, if a radio station enters into a direct license with one of GMR’s affiliates, or attempts to

remove the works of individual GMR affiliates from its playlist, GMR will not provide the

station a discount off of the price of the blanket license. No economically rational radio station

would ever enter into a direct license with one of GMR’s affiliates without a “carve-out” right

because, otherwise, they would be paying twice for access to the same works.            Similarly, it

would make no sense to attempt to eliminate individual GMR affiliates’ works from a station’s

playlist, if it did not result in any reduction in the license fee that GMR charges. Because it does

not permit carve-out rights, GMR ensures that no station would ever directly license with its

affiliates, or try to avoid playing any affiliate’s works.

        8.      Third, GMR has made clear that it will not offer RMLC members any form of

license other than a blanket license. It will not offer per-program licenses, adjustable fee blanket

licenses or any other alternatives to its blanket license. ASCAP’s and BMI’s ability to engage in

direct license transactions (facilitated by the fact they may only license on a non-exclusive basis

on behalf of their members) and the availability of these alternatives to blanket license structures,

are characteristics central to those PROs’ success in surviving antitrust challenges; but GMR

licensing offers no such pro-competitive features.




                                                   4
Case 2:19-cv-03957-TJH-AS Document 1 Filed 11/18/16 Page 9 of 51 Page ID #:9




       9.      Because radio stations cannot know for certain whether particular musical works

are in GMR’s repertory or whether any works purportedly in GMR’s repertory may be played

without obtaining additional licenses before doing so, and because GMR has ensured that radio

stations have no practical or economically viable alternative to obtaining a blanket license from

GMR, GMR derives, and imminently threatens to exert, immense monopoly power from the

bundle of copyrighted music in its repertory.

       10.     GMR’s creation of a bottleneck to public-performance-right licenses for the

works in its repertory contributes no efficiency benefits of any kind. Instead, GMR imminently

threatens to extract monopoly rents for copyrighted music that would otherwise be available at

competitive rates and has cast a long shadow over RMLC’s negotiations with ASCAP, BMI, and

SESAC.

        11.    Unless this Court grants RMLC the injunction it seeks for the benefit of RMLC’s

members, GMR will be able to exercise monopoly power in contravention of U.S. antitrust laws

and at the expense of RMLC’s members.

                         JURISDICTION. VENUE, AND STANDING

       12.     RMLC brings this action on behalf of its members pursuant to Section 2 of the

Sherman Act, 15 U.S.C. § 2, and Section 16 of the Clayton Act, 15 U.S.C. § 26, to enjoin

GMR’s anticompetitive conduct and other violations of the law, and to recover the costs of this

suit and reasonable attorneys’ fees.

        13.    This Court has subject-matter jurisdiction over the asserted claims under 28

U.S.C. § 1331 and 15 U.S.C. § 26.

        14.    This Court has personal jurisdiction over the parties because GMR (i) has

conducted business throughout the United States, including in this district; (ii) has substantial




                                                5
Case 2:19-cv-03957-TJH-AS Document 1 Filed 11/18/16 Page 10 of 51 Page ID #:10




contacts with this district; and (iii) is engaged in a campaign of monopolization that has affected

or will affect a nationwide market for the sale of copyrighted musical works in GMR’s repertory,

which market includes this district.

         15.        GMR entered into negotiations with RMLC with the intent and purpose of

invoking the benefits and protections of Pennsylvania’s laws by directing illegal licensing

activity into this district, as shown by GMR’s knowledge that:

                       a)     Philadelphia, located in this district, is the ninth largest radio market in

                              the United States;

                       b)     over one hundred RMLC member stations reside in this district;

                       c)     one of the largest radio companies in the United States, Entercom

                              Communications Corp., is headquartered in Bala Cynwyd in this

                              district, is an RMLC member, and its Vice President, Treasurer and

                              Controller Eugene Levin is a member of the RMLC Executive

                              Committee that negotiated with GMR.

         16.        During the relevant period GMR directed communications into this district

promoting or otherwise offering its licenses for sale to radio stations within this district.

         17.        During the relevant period GMR directed communications into this district

informing stations of the risk of infringing works in its repertory or otherwise implicitly threating

suit for infringement.

         18.        On information and belief, during the relevant period, GMR transacted business

and/or was found in this district by entering into licensing agreements with radio stations located

in this district.




                                                     6
Case 2:19-cv-03957-TJH-AS Document 1 Filed 11/18/16 Page 11 of 51 Page ID #:11




       19.     Venue is proper in this judicial district under 28 U.S.C. § 1391(b) and 15 U.S.C. §

22 because, during the relevant period, GMR transacted business and/or was found in this

district, and/or because a substantial part of the events or omissions giving rise to this claim

occurred in this district. GMR threatens imminently to force RMLC members that reside in this

district (and elsewhere) to enter into unlawful and anticompetitive public-performance-right

licenses and also threatens imminently to force those RMLC members to pay supracompetitive

rates for those licenses. These RMLC members include, but are not limited to, (i) WCTO-FM

Cumulus Media Holdings Inc. (Easton, PA); (ii) WEEX-AM Connoisseur Media LLC (Easton,

PA); (iii) WIOV-FM Cumulus Media Holdings Inc. (Ephrata, PA); (iv) WIOV-AM Cumulus

Media Holdings Inc. (Berks, PA); (v) WLEV-FM Cumulus Media Holdings Inc. (Allentown,

PA); (vi) WLPA-AM Hall Communications Inc. (Lancaster, PA); (vii) WMGK-FM Beasley

Broadcast Group (Philadelphia, PA); (viii) WMMR-FM Beasley Broadcast Group (Philadelphia,

PA);   (ix)   WODE-FM Connoisseur Media LLC (Easton,                PA);   (x) WROZ-FM Hall

Communications Inc. (Lancaster, PA); (xi) WTEL-AM Beasley Broadcast Group (Philadelphia,

PA); (xii) WTKZ-AM Connoisseur Media LLC (Allentown, PA); (xiii) WWDB-AM Beasley

Broadcast Group (Philadelphia, PA); (xiv) WBEN-FM Beasley Broadcast Group; and (xv)

Entercom Communications Corp. (Bala Cynwyd, PA), all of which are licensed to broadcast

and/or reside in the Eastern District of Pennsylvania.




                                                 7
Case 2:19-cv-03957-TJH-AS Document 1 Filed 11/18/16 Page 12 of 51 Page ID #:12




                                        THE PARTIES

       20.     Plaintiff RMLC is a 501(c)(6) non-profit corporation organized and existing under

the laws of Tennessee, with a principal place of business at 1616 Westgate Circle, Brentwood,

Tennessee, 37027. RMLC’s mission is to negotiate public-performance-right license fees with

performing rights organizations for the benefit of its members and the commercial radio industry

(some 10,000 radio stations).

       21.     Defendant GMR is a for-profit corporation organized and existing under the laws

of the state of Delaware and is registered as a corporation with the state of California, with a

principal address of 1100 Glendon Avenue, Suite 2000, Los Angeles, California 90024. GMR’s

registered agent in Delaware is Paracorp Incorporated, 2140 S. Dupont Highway, Camden,

Delaware 19934.     GMR’s registered agent in California is Leeann Hard, 201 Santa Monica

Boulevard, Suite 480, Santa Monica, CA 90401.

                                        BACKGROUND

Performing Rights Organizations and the Licensing of Copyrighted Music

       22.     The owners of copyrights over musical works enjoy certain exclusive rights,

including the right: (1) to publicly to perform their musical works, (2) to reproduce their works,

and (3) to distribute copies or phonorecords of their works to the public. Consumers who wish to

use copyrighted musical works for any of these purposes, absent fair use or other exemption,

must obtain the relevant copyright holder’s permission. Should they fail to secure a license, U.S.

law provides for statutory damages of up to $150,000 per infringed work.

       23.     Radio stations use a vast array of musical works. They play feature music for the

purpose of entertaining their listeners; they use sound bites as background material and as

bridges between programming segments; they air third-party advertisements that may or may not




                                                8
Case 2:19-cv-03957-TJH-AS Document 1 Filed 11/18/16 Page 13 of 51 Page ID #:13




 contain feature music; they introduce programs with musical themes; and they sometimes make

use of ambient, or background, music, such as music broadcast during intermissions at live

 sporting events.

        24.     To broadcast music without infringing intellectual-property rights, radio stations

must obtain licenses. Copyright holders have the right to directly license their works to radio

stations, unless they have relinquished that right.   It also has been the practice in the music

industry for decades for copyright holders to bestow licensing authority upon a common agent or

society, which can negotiate with and grant permissions to music users on their behalf. PROs

have served this function in the music industry for a number of years, aggregating the rights to

works and acting as intermediaries between consumers and copyright holders and purportedly

offering “one-stop-shop” licenses for the public performance of groups of works. For many

years, there were only two major PROs for the U.S. music industry: BMI and ASCAP. A third

PRO, SESAC, was a niche player and did not participate in major music markets until it recently

embarked on an anticompetitive scheme similar to the one GMR—a recently formed fourth

PRO—is now pursuing.

        25.     Performing rights organizations can offer a range of different licenses to radio

stations and other entities that publicly “perform” works. The basic “blanket license” provides a

licensee with the right to use any piece of music in the PRO’S repertory without having to

account for actual usage. If a PRO charges a set periodic fee for such a license, “carve-out

rights” (otherwise known as “adjustable-fee blanket licenses” or “AFBLs”) would entitle

licensees to discounts if they secure separate permissions directly from the copyright owners to

musical works subsumed within the blanket license. Another alternative license form known as

a “per-program license” permits a licensee to use all songs in a PRO’s repertory, but only for the




                                                 9
Case 2:19-cv-03957-TJH-AS Document 1 Filed 11/18/16 Page 14 of 51 Page ID #:14




purpose of specific radio programming that is generally associated with an “all-talk” format.

Fees for per-program licenses derive only from revenues associated with the relevant program,

which fact allows radio stations to reduce their licensing costs by reducing the number of

programs that make feature performances of music from a particular PRO’S repertory.

       26.    It is quite common that copyrighted musical works are co-owned by multiple

copyright owners, such as where more than one person was involved in the composition or

production of a song. A default rule under copyright law provides that each joint author of a

single work may grant a non-exclusive license to use the entire work without the consent of the

other co-owners, provided that the licensor accounts for and pays over to his or her co-owners

their pro-rata share of the proceeds. But joint authors may depart from this default rule, and

agree that each co-author will only license his or her fractional share of a single work.    In

circumstances where a co-owner expressly grants such a fractional license, a music user must

obtain a license from each of the co-owners (and/or from whoever the co-owners have assigned

any portion of their rights) before the music user can play the work free from the threat of

copyright infringement.

       27.    PROs enter into license agreements with individuals who are composers, authors,

and/or publishers of various songs. The repertory of each PRO includes some works owned

entirely by members or affiliates of that PRO, and some works that are co-owned with members

or affiliates of other PROs.   Under governing copyright law and the grants of rights in the

historic licenses secured by RMLC members from ASCAP and BMI, where songs are co-owned

by affiliates of GMR and either or both of ASCAP and BMI, a radio station’s license from

ASCAP or BMI is sufficient to enable the station to publicly perform such co-owned works

without a need to get a license from GMR.




                                              10
Case 2:19-cv-03957-TJH-AS Document 1 Filed 11/18/16 Page 15 of 51 Page ID #:15




       28.     ASCAP and BMI blanket licenses to RMLC stations historically have been “full

work” licenses, pursuant to which each PRO has provided a license to perform all of those works

in its repertory without risk of infringement.        GMR has offered RMLC only a “fractional”

license, which would require RMLC stations to obtain additional licenses from each of the

copyright owners that own the remaining shares, either by obtaining a license from PROs that

represent those other owners or by securing direct licenses from each of those other co-owners.

       29.     ASCAP, founded in 1914, licenses the musical works of 585,000 songwriters,

composers, and publishers, and has more than 10 million musical works in its repertory. BMI,

founded in 1939, licenses the works of more than 750,000 songwriters, composers, and

publishers, and has nearly 12 million musical works in its repertory. Both ASCAP and BMI are

non-profit organizations.

       30.     SESAC, founded in 1930 as the Society of European Stage Authors and

Composers, is a self-described “selective organization” that, by design, has a much smaller

number of affiliates and a much smaller repertory of works than either ASCAP or BMI. SESAC

operated as a niche PRO until it recently attempted to engage in anticompetitive actions that

GMR now attempts to emulate.

For More Than 70 Years, It Has Been Established That Unchecked PROs Harm
Competition

       31.     For more than seventy years, it has been well established that performing rights

organizations, without appropriate limitations, are inherently anticompetitive.        Composers,

authors, and publishers of music are actual or potential horizontal competitors in licensing rights

to their music. In aggregating competing rightsholders’ licensing decisions, PROs necessarily

restrict price competition between horizontal competitors. Safeguards in the form of antitrust

law or regulatory oversight are crucial to prevent PROs from abusing the monopoly power that



                                                 11
Case 2:19-cv-03957-TJH-AS Document 1 Filed 11/18/16 Page 16 of 51 Page ID #:16




can result from their acquiring licensing rights over competitors’ copyrighted works.

        32.     In 1941, the U.S. Department of Justice brought an antitrust lawsuit against

ASCAP to challenge its blanket-licensing and related anticompetitive practices.              The Justice

Department also sued BMI in the same year, similarly alleging antitrust violations on account of

the PRO’S blanket licensing. Both ASCAP and BMI promptly signed consent decrees. BMI

entered into a new consent decree with the government in 1966. Both ASCAP’s and BMI’s

consent decrees with the Justice Department endure to this day.

        33.     The Justice Department has modified those decrees from time to time since, most

recently in 2001 for ASCAP and in 1994 for BMI. As a result of those still-binding consent

decrees, ASCAP and BMI: (i) must accept all qualified music composers and producers as

affiliates; (ii) must not enter into exclusive contracts with their affiliates; (iii) must not insist that

consumers take a blanket license; (iv) must offer consumers a genuine economic choice between

a per-program license and a blanket license; (v) must offer consumers who apply in writing for

licenses access to their repertories without exposure to copyright infringement, even in the

absence of agreement on the license fees; and (vi) must accept the district court’s determination

of a reasonable fee in the event that they cannot agree upon a fee within 60 days.

    SESAC Agreed To Rate Regulation After RMLC Sued It and The Court Concluded
    that RMLC was Likely To Win

        34.     A third PRO, SESAC, pursued a completely different business model than BMI

and ASCAP. Unlike those older PROs, SESAC structured itself as a for-profit entity. SESAC,

likely owing to its smaller size and historical niche focus, has not been subject to a government

consent decree. When the DOJ obtained the BMI and ASCAP decrees in the 1940s, SESAC did

not control any meaningful bundle of copyrighted works and therefore did not exercise the type

of monopoly power that BMI and ASCAP clearly possessed. Unconstrained by any regulatory



                                                    12
Case 2:19-cv-03957-TJH-AS Document 1 Filed 11/18/16 Page 17 of 51 Page ID #:17




decree, SESAC, after an ownership change, in the 1990s began to build an indispensable

repertory of works, and subsequently eliminated price competition among its affiliates and

willfully obtained a monopoly of its own. More specifically, under new management, SESAC in

recent years began harming competition for essential copyrighted musical works when it began

(1) strategically handpicking its affiliates so that it had exclusive licensing authority over a

critical mass of musical works that U.S. radio stations could not reasonably avoid broadcasting;

(2) obscuring the musical works within that repertory, making it impossible for broadcasters to

determine with confidence what works were controlled by SESAC at any given point in time; (3)

refusing to sell radio stations a non-blanket license; (4) threatening U.S. radio stations with hefty

copyright infringement fines for broadcasting works in the SESAC repertory without a proper

license; and (5) eliminating price competition between and among it and its affiliates by entering

into de facto exclusive agreements with its affiliates that made it impractical for copyright

owners to directly license their works to radio stations. Through those anticompetitive actions,

SESAC leveraged its repertory of essential copyrighted works into immense monopoly power

and began abusing that power by forcing U.S. radio stations to pay extortionist fees to avoid

threatened copyright infringement fines.

       35.     In October 2012, RMLC brought suit on behalf of its member radio stations to

enjoin SESAC’s violations of the antitrust laws, and to require SESAC to submit to a judicial

rate-making procedure comparable to the one governing BMI and ASCAP under the DOJ

consent decrees.    SESAC nevertheless persisted in its abusive practices during litigation by

demanding radio stations enter into five-year contracts and imposing a massive and

anticompetitive rate increase for its blanket license. Stations that did not acquiesce in SESAC’s

demand by December 31, 2013 risked enterprise-destroying copyright infringement lawsuits.




                                                 13
Case 2:19-cv-03957-TJH-AS Document 1 Filed 11/18/16 Page 18 of 51 Page ID #:18




       36.     To prevent SESAC’s supracompetitive rate increase from irreparably harming

radio stations while litigation was pending, in November 2013, RMLC filed a motion to

preliminarily enjoin SESAC from imposing those rate increases on RMLC’s members. After a

three-day evidentiary hearing, which included live testimony from fact witnesses and economic

experts on both sides, U.S. Magistrate Judge Lynne A. Sitarski issued a report and

recommendation concluding, among other things, that RMLC had shown a likelihood of

successfully showing that SESAC violated Section 2 of the Sherman Act by monopolizing the

market for the rights to publicly perform works in SESAC’s repertory. SESAC /, 2013 WL

12114098, at *13-16.

       37.     Although Judge Sitarski ultimately did not recommend issuing a preliminary

injunction because she found that harm to radio stations from a rate increase could be

compensated with money and therefore was not irreparable, in reaching her conclusion that

RMLC had a likelihood of success on its Section 2 claim, she made several important findings.

First, she concluded that SESAC’s blanket license occupies its own product market, for which

there are no substitutes. Id. at *10. Second, she found, as a matter of fact, “a radio station must

buy a SESAC license” because the station cannot control all of the content it plays and cannot

identify the songs in SESAC’s repertory when SESAC makes it impractical to do so. Id. at *10,

*19. Third, she found that the lack of a consent decree constraining SESAC from imposing

supracompetitive prices on stations deprives consumers of the procompetitive benefits that a

blanket license may produce. Id. at *18-19. The Court adopted Judge Sitarski’s report and

recommendation “in full” (except for one, non-material change to one paragraph). See Order,

Radio Music License Comm., Inc. v. SESAC Inc., Civ. A. No. 12-cv-5807 (E.D. Pa. Feb. 20,

2014), ECF No. 68.




                                                14
Case 2:19-cv-03957-TJH-AS Document 1 Filed 11/18/16 Page 19 of 51 Page ID #:19




        38.    Following the preliminary injunction proceeding, the Court also denied SESAC’s

motion to dismiss. See SESAC II, 29 F. Supp. 3d at 502. The Court found that the complaint

“cogently portray[ed]” illegal monopolization in violation of Section 2 of the Sherman Act by

alleging that “SESAC excludes competitors by obtaining a critical mass of must-have works,

 selling them exclusively in the blanket license format, discouraging direct licensing by refusing

to offer carve-out rights and obscuring the works in its repertory.” Id. at 501.

        39.    Following the Court’s denial of SESAC’s motion to dismiss and the Court’s

adoption of Judge Sitarski’s findings that RMLC was likely to succeed on its claim, in July 2015,

RMLC and SESAC entered into a 20-year settlement agreement that prevents SESAC from

imposing supracompetitive rates and restoring copyright owners’ ability to competitively license

their works directly to radio stations.    Under the agreement, SESAC and RMLC agreed to

negotiate in good faith to set rates and licensing terms through the year 2037. If negotiations

fail, either party may elect to determine rates through binding arbitration, much like the rate

court does under the consent decrees governing BMI and ASCAP.                Additionally, SESAC

committed to provide greater transparency regarding the songs in its repertory and to cease

entering into agreements with affiliates amounting to de facto exclusive licenses.

        40.    SESAC engaged in a nearly identical course of anticompetitive conduct when

licensing to U.S. television stations between 2007 and 2012.        SESAC settled allegations that

those acts violated Sections 1 and 2 of the Sherman Act by paying $58.5 million to the television

industry and by agreeing to an arbitration procedure to determine reasonable rates. See Deck in

Supp. of Settlement, Meredith Corp. v. SESAC EEC, No. 09-cv-9177 (S.D.N.Y. Oct. 15, 2014),

ECF No. 175, Ex. 1. That settlement came after Judge Paul A. Engelmeyer of the Southern

District of New York found evidence showing SESAC “engaged in an overall anti-competitive




                                                 15
Case 2:19-cv-03957-TJH-AS Document 1 Filed 11/18/16 Page 20 of 51 Page ID #:20




course of conduct designed to eliminate meaningful competition to its blanket license,” and

monopolized the market for the performance rights to the music in its repertory. Meredith Corp.

v. SESACLLC, 1 F. Supp. 3d 180, 196, 222 (S.D.N.Y. 2014).

        41.    GMR now threatens to perpetrate the same harms to radio stations and

competition that were the root of the RMLC and Meredith litigation against SESAC.

    GMR Has Copied SESAC’s Unlawful Tactics

        42.    GMR was founded in 2013 under the umbrella of Azoff MSG Entertainment, a

joint venture between music-industry icon Irving Azoff s Azoff Music Management and the

Madison Square Garden Company. From its inception, GMR’s goal has been to lure a relatively

small but strategically selected group of coveted songwriters away from ASCAP and BMI with a

promise to pay them at least 30% more than ASCAP, BMI (or, now, even SESAC) can pay

them. To fund this promise, GMR intends to force radio stations to pay exorbitant rates for

licenses to the GMR repertory. These are the same unlawful tactics that SESAC employed.

        43.    GMR’s management has consciously built a small but strategic client base of

artists that radio stations cannot reasonably avoid playing to enable it to extract higher licensing

fees.   Like SESAC, GMR intentionally affiliates with a smaller number of composers and

publishers than does BMI or ASCAP so as to acquire maximum negotiating power with

licensees, while requiring the minimum necessary affiliate royalty expense; thus, ensuring the

maximum stream of profits into GMR coffers.

        44.    GMR even copied SESAC’s tactic of selecting executives. In the decade prior to

its litigation with RMLC, SESAC built its strategic repertory under the guidance of Pat Collins,

who had a prior, longstanding tenure with ASCAP. GMR similarly poached its Chief Executive,

Randy Grimmett, from ASCAP, where he had served as an executive for 19 years.




                                                 16
Case 2:19-cv-03957-TJH-AS Document 1 Filed 11/18/16 Page 21 of 51 Page ID #:21




       45.      Guided by Grimmetf s experience attracting popular artists to ASCAP and fueled

by Azoff s public demands for larger artist royalty payments, GMR quickly amassed a bundle of

an estimated 20,000 essential works, from approximately 100 songwriters.             That repertory

includes works written or performed by stars Adele, Aerosmith, the Beatles, Bruno Mars, Jay-Z,

Madonna, Pharrell Williams, Ryan Tedder, the Steve Miller Band, Taylor Swift, Tom Petty &

The Heartbreakers, and U2, among many others.           In August 2016, Azoff described GMR’s

repertory as “a full roster of songwriters that nobody can, shall we say, comfortably exist

without.”

       46.      Like SESAC had done, GMR also intentionally does not make it possible for

radio stations to determine the necessary details about the works in its repertory.       Even if a

station were willing to try to operate without using GMR’s “must have” repertory, GMR does

not provide radio stations with any reliable, transparent or timely way to determine, with

confidence or any level of efficiency, which specific GMR works they would need to avoid

playing at any given time in order to avoid the risk of copyright infringement. GMR also does

not identify which of its works it controls 100%, and which it licenses only fractionally but

which are jointly controlled and licensable on a full-work basis from another PRO. GMR also

does not publicize (to radio stations or other licensees) information identifying who owns or

controls the rights to perform the musical works embodied in new releases of sound recordings

until weeks or months after release. All of these actions make it effectively impossible for radio

stations to avoid the risk of copyright infringement claims absent taking a license from GMR.

       47.      Mimicking another SESAC tactic it employed before RMLC sued SESAC, GMR

seeks to exploit the fact that it is currently the only PRO not subject to rate regulation (by decree

or contract).   GMR lured its roster of “must have” songwriters from ASCAP and BMI with




                                                 17
Case 2:19-cv-03957-TJH-AS Document 1 Filed 11/18/16 Page 22 of 51 Page ID #:22




promises of higher royalty payments (at least 30% higher) made possible because of the

monopoly power derived from its bundle of essential works. GMR knows that ASCAP, BMI

and SESAC are powerless to compete with GMR for these affiliates, precisely because they are

all rate-regulated to prevent anticompetitive abuses of their indisputable monopoly power.

Because ASCAP, BMI and SESAC, by law and contract, cannot price gouge radio stations like

GMR can do, ASCAP, BMI and SESAC lack the financial resources to meaningfully compete

for affiliates with the unconstrained GMR.          The consent decrees and SESAC settlement

agreement also impose other limitations on ASCAP, BMI and SESAC that allow the unregulated

GMR to overpay its targeted affiliates, such as the fact that ASCAP, BMI and SESAC are each

precluded from interfering with direct licensing by their affiliates.

       48.        For example, in May 2016, ASCAP paid a $1.75 million fine to settle a contempt

proceeding brought by the Department of Justice for ASCAP’s violation of its consent decree.

See U.S. Dep’t of Justice, Justice Department Settles Civil Contempt Claim against ASCAP for

Entering into 150 Exclusive Contracts with Songwriters and Music Publishers (May 12, 2016),

available    at     https://www.justice.gov/opa/pr/justice-department-settles-civil-contempt-claim-

against-ascap-entering-150-exclusive. In order to try to compete more effectively for songwriter

members, ASCAP had paid bonuses and incentives to a select subset of its members and, in

order to protect that investment, had required those members to license their rights exclusively

through ASCAP. The DOJ concluded that this violated provisions in the consent decree that

preclude any interference with a music user’s right to directly license from the copyright owner

without having to go through a PRO. See, e.g., Mem. in Supp. of United States’ Unopposed

Mot. to Enter Proposed Settlement Agreement & Order, United States v. Am. Soc’y of

Composers, Authors & Publishers, Suppl. Case No. 41-1395 (DLC) (S.D.N.Y. May 12, 2016)




                                                  18
Case 2:19-cv-03957-TJH-AS Document 1 Filed 11/18/16 Page 23 of 51 Page ID #:23




ECF No. 750.     ASCAP had to void its exclusive contract provisions and pay a fine for its

contempt. GMR’s CEO Grimmett was at ASCAP and upon information and belief supervised

the contracting practices that violated the consent decree.

       49.     Prior to settling its lawsuit with RMLC, SESAC had also engaged in de facto

exclusive dealing practices with affiliates that were designed to make it impractical for any radio

station to obtain a direct license from any affiliate. These practices included refusing to offer

carve-out rights to radio stations.   SESAC knew that no economically rational station would

directly license songs from a SESAC affiliate, unless the station received a discount off of

SESAC’s blanket license for those songs. Otherwise, the station would be paying twice for the

rights to the same works. GMR is now doing the same thing. It does not offer carve-out rights,

which effectively enforces de facto exclusive licensing arrangements with its affiliates.

RMLC Seeks to Negotiate License Fees with PROs on Behalf of its Radio-Station Members
and Has Attempted To Negotiate with GMR, Despite GMR’s Abuses

       50.     Plaintiff RMLC is an association that represents the interests of the commercial

radio industry with respect to obtaining public-performance-right licenses to copyrighted music.

To this end, RMLC currently negotiates license fees with ASCAP and BMI, whose consent

decrees provide for a definitive, time-tested, rate-setting process in federal court.       RMLC

likewise negotiates license fees with SESAC on behalf of RMLC’s members, pursuant to a

binding arbitration process required under a 20-year settlement agreement that resolved

substantially similar claims to those alleged herein. RMLC seeks to obtain fair and reasonable

license fees from PROs on behalf of radio stations, negotiates for per-program and blanket-

license carve outs that allow stations to achieve further fee discounting, and aims to achieve the

broadest possible licenses covering new-media applications, including HD multicasting and

streaming.   Approximately 10,000 terrestrial radio stations in the United States are currently



                                                 19
Case 2:19-cv-03957-TJH-AS Document 1 Filed 11/18/16 Page 24 of 51 Page ID #:24




licensed in accordance with RMLC-negotiated industry licenses with ASCAP and BMI, and over

7,000 are participating in RMLC’s first-ever binding rate arbitration with SESAC.

        51.     GMR sought out RMLC to negotiate licensing terms and rates that could apply to

RMLC’s member pool of radio stations. In mid-2016, it became clear that GMR intended to

perpetrate the exact harms that SESAC wrought on the industry, before SESAC agreed, in order

to put a halt to RMLC’s antitrust action, to subject itself to rate scrutiny for the next 20 years. In

particular in the last two months, GMR has implicitly threatened to sue radio stations that do not

quickly agree to its terms and purchase a license. GMR has emphasized January 1, 2017, as the

deadline for obtaining a license because, as of that date, the stations’ “licenses-in-effect” with

ASCAP and BMI will cease to cover songs that have moved to GMR’s repertory.

        52.    Before joining GMR, all or virtually all of GMR’s affiliates were members of

ASCAP or BMI. In fact, the vast majority were affiliates of Grimmett’s former firm ASCAP.

When a writer or publisher withdraws from ASCAP or BMI, the PRO does not automatically

lose the right to license radio stations for that writer’s or publisher’s works. If that were the case,

stations that purchase ASCAP or BMI licenses would need to verify the contents of ASCAP or

BMI’s repertory every day to ensure they did not play a withdrawn work.               To prevent that

unmanageable situation, ASCAP and BMI have granted RMLC stations the right to continue to

perform all works that were in PROs’ repertories at the time their “licenses-in-effect” with

RMLC were created, even if the artist or publisher purports to withdraw during the term of the

RMLC license. Through this arrangement, radio stations have been able temporarily to perform

a GMR affiliate’s works, even without obtaining a GMR license, because the work is covered by

the station’s license-in-effect with the affiliate’s prior PRO, e.g., ASCAP or BMI. For a short

time period, these licenses-in-effect have largely shielded radio stations from the risk of




                                                  20
Case 2:19-cv-03957-TJH-AS Document 1 Filed 11/18/16 Page 25 of 51 Page ID #:25




infringing the works in GMR’s repertory. But GMR has indicated to RMLC during the parties’

licensing negotiations that, after these licenses-in-effect expire on December 31, 2016, GMR

intends to pursue its remedies against radio stations that have not signed a license with GMR,

meaning that stations without GMR licenses by January 1, 2017 will be at risk of potential

infringement fines up to $150,000 per infringed work.

       53.     While implicitly threatening litigation against stations that do not purchase a

license, GMR demanded (and continues to demand) a supracompetitive price to perform its

works. The DOJ noted in August that ASCAP and BMI charge “fees based roughly on their

respective market share accounting for partial interests in the songs in their repertories.” See

infra f 61. On information and belief, GMR’s share of radio performances, based on a weighted

percentage of total plays, is between 5% and 7.5%. GMR, by contrast, has demanded stations

pay rates multiples higher than they would pay if ASCAP, BMI, or SESAC licensed the exact

same number and quality of works: first, by calculating a “spin share” of U.S. radio music (i.e.

the percentage of plays rather than the percentage of total works), and second, by multiplying

that “spin share” by various undisclosed factors to create a claimed “value share” of roughly

double (or more) its actual spin-share. GMR has also stated that it views its share as roughly 3x

or 4x greater than SESAC, another PRO that collected a must-have set of works. Based on these

assertions, GMR has demanded over $42 million for 2017 alone from a subset of RMLC’s

member stations representing only about 75-80% of total US radio revenues.         That demand

implies that GMR views its “value share” as more than 15% of U.S. radio. It is “take it or leave

it” pricing fully divorced from market constraints.

       54.     In addition, GMR only offers a fractional license. That means that, for a majority

of the works within GMR’s repertory, its blanket license would not protect a station from an




                                                21
Case 2:19-cv-03957-TJH-AS Document 1 Filed 11/18/16 Page 26 of 51 Page ID #:26




infringement lawsuit by the owners of the remaining fractions. Thus, even if a station pays for a

GMR license, it still cannot play most of the works in GMR’s repertory without fear of copyright

infringement. So that means that GMR is demanding a much higher rate not only for fewer

songs, but also for less (and uncertain) protection from an infringement lawsuit than would ever

be possible under the rate-setting procedures that prevent the other three PROs from charging

monopolistic prices.

        55.    To compound the problem, radio stations cannot confidently know which works

are licensable by GMR at any given time, nor can they know what works they would need to

avoid playing in order to avoid the risk of copyright infringement claims. Only an entity that

wields tremendous monopoly power could compel radio stations to pay absurdly high prices for

licenses of unknown scope and value. And that is exactly what GMR is doing to radio stations

now.

        56.     GMR has also ratcheted up the supracompetitive nature of its prices by

demanding annual rate increases on top of its already inflated base. The increases would occur

regardless of whether GMR’s repertory contained less frequently played works, or a smaller

percentage of works controlled 100% by GMR.

        57.    In addition to these abusive pricing demands, during negotiations with RMLC,

GMR also would not commit to allowing its affiliates to enter into direct licenses with radio

stations; offering blanket-license carve outs for direct-licensing affiliates or for affiliates

removed from stations’ playlists; or offering per-program licenses or other alternatives to its

blanket license.

        58.    In early November 2016, GMR definitively refused RMLC’s offer to set an

interim, reasonable royalty rate and have a neutral arbitrator set final rates.




                                                  22
Case 2:19-cv-03957-TJH-AS Document 1 Filed 11/18/16 Page 27 of 51 Page ID #:27



        59.      In sum, GMR refused to negotiate terms that would comply with core protections

 in the antitrust consent decrees and antitrust settlement agreement governing the other three

 PROs. Nonetheless, because of the tremendous market power GMR wields, unless this Court

 issues the preliminary injunction that RMLC is seeking concurrently with this complaint, most

 radio stations will have no choice but to accede to GMR’s demands before the end of the year

because they cannot risk bankrupting themselves to defend copyright infringement claims.

 The DOJ Found that Fractional Licenses Like The Ones GMR Offers Do Not Provide Pro-
 Competitive Benefits

        60.      On the heels of SESAC’s settlement agreement, the DOJ recently completed an

investigation into the operation and effectiveness of the ASCAP and BMI consent decrees, and

 confronted the issue of whether those decrees permitted fractional-work licensing by ASCAP

and BMI.      In 2014, both ASCAP and BMI requested various modifications to their consent

decrees, and during its two-year investigation the DOJ examined the question of whether those

decrees obligate ASCAP and BMI to offer full work licenses.

        61.      The DOJ issued a statement regarding the closing of its investigation in August

2016, and concluded that the ASCAP and BMI consent decrees require the two PROs to offer

only full work licenses to their repertories. The DOJ declined to modify the consent decrees to

allow either PRO to offer licenses that convey only fractional rights to the works in the ASCAP

and BMI repertory and thus require licensees to obtain additional licenses to perform works only

partially owned by each PRO’S members or affiliates. See U.S. Dep’t of Justice, Statement of the

Department of Justice on the Closing of the Antitrust Division’s Review of the ASCAP and BMI

 Consent      Decrees   at   3   (Aug.   4,   2016)    (“DOJ    Statement”),      available   at

https://www.justice.gov/atr/file/882101/download. The DOJ found that requiring ASCAP and

BMI licenses to provide full-work licensing “is compelled by the language and intent of the



                                                23
Case 2:19-cv-03957-TJH-AS Document 1 Filed 11/18/16 Page 28 of 51 Page ID #:28




decrees and years of interpretations by federal courts.” Id. at 11. In particular, “only full-work

licensing achieves the benefits that underlie the courts’ descriptions of ASCAP’s and BMI’s

licenses”—most notably, “allowing] the licensee immediate use of covered compositions,

without the delay ofprior individual negotiations.” Id. at 12 (quoting BMIv. CBS, Inc., 441 U.S.

 1, 21-22 (1979)). The DOJ emphasized that fractional licenses offer none of these benefits,

explaining “they would not provide immediate use of covered compositions; users would need to

obtain additional licenses before using many of the covered compositions,” and they “would not

avoid the delay of additional negotiations, because users would need to clear rights from

additional owners of fractional interests in songs” before performing any works in either PRO’s

repertories. Id}

        62.    GMR does not operate under a consent decree, and therefore it is not bound by the

DOJ’s finding that ASCAP or BMI must offer full-work licenses to the works in their

repertories. But the fact that GMR does not offer radio stations full-work blanket licenses drains

its blanket licenses of the supposed efficiencies and pro-competitive benefits of ASCAP and

BMI blanket licenses, while increasing rather than decreasing the aggregate number of required

license transactions, thus increasing transactional inefficiency. Coupled with the absence of a

consent decree prohibiting GMR’s de facto exclusive licensing practices, GMR’s blanket license

lacks the fundamental characteristics that allowed the ASCAP and BMI blanket licenses to

survive antitrust scrutiny.

             GMR HAS WILLFULLY ACQUIRED A MONOPOLY OR,
       AT LEAST. IS INTENTIONALLY TRYING TO ACHIEVE A MONOPOLY



1 BMI petitioned the Southern District of New York judge with jurisdiction over its decree for a
declaratory judgment that the BMI consent decree did not require BMI to grant full-work
licenses. On September 16, 2016, the court granted BMI’s request for declaratory relief. The
DOJ filed a notice of appeal on November 11, 2016.

                                                24
Case 2:19-cv-03957-TJH-AS Document 1 Filed 11/18/16 Page 29 of 51 Page ID #:29




       63.     GMR has launched a sustained, anticompetitive campaign to create a bottleneck

to essential copyrighted musical works.       Unconstrained by any regulatory decree or court-

approved settlement agreement, GMR has built an indispensable repertory by strategically

constructing its affiliate base, has eliminated price competition among its affiliates and has

willfully obtained a monopoly.       Purporting to be the sole purveyor of rights to essential

copyrighted works, GMR threatens to exploit and maintain this monopoly by forcing radio

stations and other consumers to enter into licensing agreements, from which GMR imminently

threatens to extract monopoly prices. GMR’s construction of an artificial bottleneck creates no

off-setting benefits to consumers or to larger society.

       64.     GMR has achieved a monopoly, or, at a minimum, is intentionally attempting to

achieve a monopoly, through a carefully orchestrated strategy of exclusionary conduct.

       65.     First, GMR makes it impractical, and in many cases impossible, for radio stations

to avoid playing at least some music in GMR’s repertory. It accomplishes this goal in a number

of ways:

               a.      GMR handpicks and reaches agreement with its affiliates to ensure that its

               repertory encompasses both a broad spectrum of prominent music as well as a

               critical mass of exclusive (i.e., wholly controlled) works, thus ensuring that it has

               licensing authority over music that radio stations and other consumers, as a

               practical matter, cannot avoid playing.

               b.      GMR simultaneously (1) threatens radio stations and other consumers

               with huge copyright infringement fines for performing works in the GMR

               repertory without a license and (2) leaves radio stations unable to determine with

               reliability the works to which it has licensing authority. GMR has stated publicly




                                                 25
Case 2:19-cv-03957-TJH-AS Document 1 Filed 11/18/16 Page 30 of 51 Page ID #:30




              that any business without a GMR license that plays works in its repertory could be

              vulnerable to $150,000 penalties for each song performed, and has indicated that

              it is prepared to pursue infringement actions to protect the interests of its

              affiliates. Yet GMR does not provide an accurate or complete list of works that

              fall in its repertory, or the ownership shares of those works, at any given period of

              time.

              c.      GMR’s affiliates both understand and consent to the purpose of GMR’s

              scheme—that is, to       obtain and     share among GMR and            its affiliates

              supracompetitive fees that those affiliates could not otherwise obtain.       These

              affiliates understand that each other affiliate’s mutual participation is key to the

              success of GMR’s anticompetitive conduct. Indeed, GMR itself publicly touts

              each new member that joins its scheme.

              d.      As a result of GMR’s carefully orchestrated structure with its affiliates,

             radio stations have no choice but to obtain a license from GMR.            GMR has

             publicly stated as much, explaining that ASCAP, BMI, and SESAC are separate

              and distinct from GMR, and that licenses with these other PROs do not grant a

             radio station authorization to publicly perform the copyrighted music of GMR’s

              songwriters, composers, and publishers.

       66.   Second, to avoid regulatory constraints of the kind that prevent ASCAP and BMI

from using their positions as intermediaries to extract monopoly rents, GMR deliberately

maintains a membership that is much smaller than those of ASCAP and BMI.               As GMR’s

founder has explained, “ASCAP and BMI have hundreds of thousands of members.                 We’ll

probably have 100.... It’s about how much market share those 100 control, and returning the




                                               26
Case 2:19-cv-03957-TJH-AS Document 1 Filed 11/18/16 Page 31 of 51 Page ID #:31




 ability of those 100 to control what happens, especially with their digital licensing.”        By

 contracting with copyright holders of sufficiently prominent musical works as to be

 indispensable to consumers, but by limiting the number of its affiliates to create the false

 impression that GMR is a small player in the music industry, GMR has achieved or is likely to

 achieve a monopoly free of any consent decree.

        67.     Third, to ensure that it is the monopoly seller of licenses to its affiliates’

 copyrighted music, GMR enters into de facto exclusive contracts with its members.           GMR

 accomplishes this exclusivity by preventing, as a practical matter, direct licensing between

 consumers and its members.       Specifically, GMR does not offer anything other than blanket

 licenses to radio stations, and does not offer either per-program or carve-out licenses. Forced to

 purchase blanket licenses, radio stations have no incentive to enter into direct licensing

 agreements that would require them to pay twice for the same rights, nor to avoid playing the

 works of any individual GMR affiliates.

 GMR Has Achieved Or Is Likely To Achieve its Monopoly Through Exclusionary Practices

        68.     GMR has willfully acquired and/or imminently threatens to obtain monopoly

 power in the market for licensing the copyrighted musical works in its repertory. It has not done

 so on the basis of growth or development as a consequence of a superior product, business

 acumen, or historic accident; it has done so by using its for-profit status to enable it to share

 monopoly rents with select affiliates.

        69.     GMR has willfully acquired and/or imminently threatens to obtain monopoly

 power by effectively refusing to deal at any reasonable, market-based price with radio stations

 and other consumers that wish to purchase anything other than a fixed-fee blanket license. GMR

 does not allow carve-out rights or offer per-program licenses, which makes it uneconomical for




                                                  27
Case 2:19-cv-03957-TJH-AS Document 1 Filed 11/18/16 Page 32 of 51 Page ID #:32




 consumers to acquire licenses directly from copyright holders.     Its refusal to deal creates a

 monopoly bottleneck, through which GMR imminently threatens to charge monopoly prices.

         70.    GMR has willfully acquired and/or imminently threatens to obtain monopoly

 power by entering into de facto exclusive contracts, and thus acquiring sole licensing rights to

 indispensable musical works. By restricting competition between the copyright holders of such

 works, GMR can and does threaten to charge monopoly prices, thus enabling GMR to pay its

 affiliates greater average royalties than the consent-decree-limited ASCAP and BMI, or

 settlement-agreement-constrained SESAC, can offer.

         71.    GMR has willfully acquired and/or imminently threatens to obtain monopoly

 power because it has taken steps to assemble a “must have” catalog and to ensure that radio

 stations can never know, with any confidence, precisely which works are in the GMR repertory

 at any given time, and what GMR’s licensing share of those works is at any given time.

                                   GMR’S MARKET POWER

 Relevant Product Market

        72.     The relevant product market is licenses to the copyrighted musical compositions

 and performances in GMR’s repertory. GMR has created a monopoly in this market by bundling

 a unique set of copyrighted musical works, for which, by its own admission, no adequate

 substitutes exist.   By maintaining exclusive licensing authority over that bundle, GMR has

 created and imminently threatens to exploit bottleneck access to licenses covering those

 collectively essential musical works.

        73.     By GMR’s own telling, licenses sold by ASCAP, BMI, and SESAC are not

 reasonably interchangeable with those that GMR sells, and so GMR’s repertory occupies its own

 market. A radio station cannot substitute a license from ASCAP, BMI, or SESAC for a license




                                                28
Case 2:19-cv-03957-TJH-AS Document 1 Filed 11/18/16 Page 33 of 51 Page ID #:33




 from GMR because there are a critical number of works in GMR’s repertory for which GMR

 controls 100% of the public performance rights (the “GMR exclusive works”). Even if a radio

 station were to obtain licenses from ASCAP, BMI, and SESAC, it still would not have the right

to play the GMR exclusive works. Thus, a license from another PRO is not a substitute for a

 license from GMR and the other PROs are not in the same market as GMR.

         74.     The only potential competitors to GMR for these exclusive works are GMR’s own

 affiliates. By virtue of being members of the GMR cartel and as a result of GMR’s exclusionary

 practices, however, those copyright holders will not or cannot compete with GMR. If GMR

were to raise prices by five to ten percent above marginal cost, consumers of GMR licenses,

 including RMLC members, could not look to ASCAP’s, BMI’s, SESAC’s, or others’ licenses as

 substitutes.   This is because GMR, by refusing to grant carve-out rights and per-program

 licenses, has exclusive rights to a critical number of musical works that terrestrial radio stations

 cannot, as a practical matter, avoid playing or—in the words of GMR’s founder—“that nobody

 can . . . comfortably exist without.”      A critical number of musical works lying in GMR’s

repertory are therefore indispensable. Because ASCAP, BMI, and SESAC do not offer licenses

to those essential copyrights (or will no longer once licenses-in-effect expire at the end of 2016),

and GMR exercises de facto exclusive control over its affiliates’ works, they do not constrain

 GMR’s pricing power over those intellectual-property rights.

         75.     Absent relief from this Court, radio stations will have little choice but to agree to

a licensing agreement with GMR and to pay the extortionate rates that GMR is demanding. As

 GMR states publicly, an infringement suit is a course of action that GMR will pursue to protect

the interests of its music creators and publishers, and any station that does not agree to its

demands may be subject to statutory damages for $150,000 for at least each GMR exclusive




                                                  29
Case 2:19-cv-03957-TJH-AS Document 1 Filed 11/18/16 Page 34 of 51 Page ID #:34




work performed. In its discussions with RMLC during the two months preceding this suit in

particular, GMR has repeatedly indicated that, beginning January 1, 2017, it is prepared to take

action against radio stations that play music in its repertory without a license from GMR.

       76.     Supply-side substitution—entry into the market by potential competitors—does

not constrain GMR’s monopoly power because GMR has the de facto exclusive ability to license

the essential musical works in its repertory. As GMR intends to share part of its monopoly

profits with its affiliates, no other PRO can successfully lure significant numbers of GMR

members away from GMR. In fact, the opposite is true, as industry observers have noted that

GMR “has lured clients with the promise that it can wring royalties that are as much as 30

percent higher from radio stations and online outlets than they can get through ASCAP or BMI.”

As GMR’s founder has stated, “We at GMR believe in higher rates.” There is no effective

prospect of competitive pricing pressure from the other existing PROs, because their rates are all

regulated (ASCAP and BMI by consent decree; SESAC by settlement agreement). Moreover,

even if a hypothetical new PRO entrant could induce some GMR affiliates to defect at the end of

their contracts, the GMR cartel would remain in full effect so long as GMR maintained control

over a critical mass of “must have” or “can’t avoid” works. And because GMR could replace

lost affiliates with new members that it lures away from other PROs, it could continue to acquire

exclusive licensing rights over a critical mass of indispensable works even if some affiliates

departed for a new entrant. There is little likelihood of GMR losing affiliates to existing PROs

based on price; because ASCAP, BMI, and SESAC are price constrained, they cannot

meaningfully compete with GMR for affiliates. And any potential new entrant would not be a

substitute for a GMR license, in any event, because it would by definition have a different

repertory of works.    So it could not constrain GMR’s prices for its own unique repertory.




                                                30
Case 2:19-cv-03957-TJH-AS Document 1 Filed 11/18/16 Page 35 of 51 Page ID #:35




 Meaningful entry into the market of GMR-repertory works is therefore impossible, and cannot

 limit GMR’s ability to charge monopoly prices.

 Relevant Geographic Market

        77.     The relevant geographic market is the United States. GMR does not limit its sales

 to any one part of the country, but sells licenses to RMLC members and to other consumers all

 over the United States.

 GMR’s Monopoly Power

        78.     100-percent market share:       As GMR possesses 100 percent of the relevant

 market, GMR has monopoly power. GMR imminently threatens to exercise that power, and

 absent injunctive relief, will succeed in profitably selling at supracompetitive prices without

 suffering a loss of demand or a diversion of sales toward ASCAP, BMI, SESAC, or a third-party

 competitor.   As set forth above, barriers to entry are not just high, they are virtually

 insurmountable.


        79.     No Regulation, Consent Decree, Or Settlement Agreement Constrains

 GMR’s Pricing: In obtaining exclusive rights to a critical mass of copyrighted musical works

 that are collectively indispensable, by offering consumers no option other than a blanket-license,

 and by imposing de facto exclusive-dealing requirements on its affiliates, GMR has acquired

 and/or imminently threatens to achieve a monopoly over the music in its repertory. Unlike

 ASCAP, BMI, and SESAC, GMR is subject to no regulatory oversight or court-ordered

 settlement agreement that constrains its pricing power. As a result, GMR can and will exercise

 unfettered monopoly power.


        80.     Entry Barriers Protect GMR’s Monopoly:             Entry barriers in the form of

 GMR’s exclusive contracts and GMR’s ability to share part of its monopoly profits with its cartel


                                                  31
Case 2:19-cv-03957-TJH-AS Document 1 Filed 11/18/16 Page 36 of 51 Page ID #:36




affiliates enable it profitably to charge supracompetitive prices without being constrained by the

threat of entry.

Direct Evidence of GMR’s Monopoly Power

          81.      GMR’s demands during negotiations with RMLC are direct evidence of its

monopoly power.         Before GMR acquired its repertory of essential works, RMLC member

stations had the ability to play all or most of those works through their licenses with ASCAP and

BMI. Because of GMR’s unlawful practices, radio stations are forced once again to license the

same works, only this time for prices far greater than what ASCAP, BMI, or SESAC could

charge.    The rate-setting procedures governing those PROs should ensure that their rates are

competitive. Instead of charging a comparable price for its license, GMR demands rates many

multiples higher than stations would pay if any of the other PROs attempted to license the same

quantity and quality of songs. Writers and publishers sign with GMR specifically because GMR

can charge a supracompetitive price and because they expect to receive a part of those monopoly

rents in the form of royalty payments. Despite GMR’s demands of supracompetitive prices, the

remaining PROs cannot undercut GMR because its repertory is without substitute.             Radio

stations are also unable to shift their business entirely to the other PROs because (1) GMR’s

repertory contains a critical mass of essential works that stations must be able to play to stay

competitive, (2) many stations do not have total control over the songs they play and thus may

risk infringement from the inadvertent broadcast of music in the GMR repertory; (3) the exact

contents of GMR’s repertory at any given time are unknown so stations cannot even try to

program around those songs, and (4) the risk of foregoing a license to the GMR repertory is the

real and imminent threat of an infringement lawsuit.      Under those conditions, many RMLC

member stations will have no choice but to purchase GMR’s license at the supracompetitive




                                                32
Case 2:19-cv-03957-TJH-AS Document 1 Filed 11/18/16 Page 37 of 51 Page ID #:37



 prices that GMR is demanding before January 1, 2017, and to continue to purchase that license

 every year at ever increasing prices until a court establishes a rate-setting procedure like the ones

 that govern ASCAP, BMI, and SESAC.

        82.     GMR’s demanded yearly rate increases provide additional direct evidence of its

 monopoly power. During negotiations with RMLC, GMR negotiators demanded that stations’

 licensing rates increase in both 2018 and 2019. Those increases are monopoly rents unassociated

 with any warranted improvement in GMR’s repertory or product offerings.             For the reasons

 described above, U.S. radio stations will be forced to pay those rates, or risk being fined

 $150,000 per infringed work.

               GMR’S UNLAWFUL AND ANTICOMPETITIVE ACTIVITIES

        83.     GMR has engaged or imminently threatens to engage in a variety of illegal and

 anticompetitive practices, including price fixing and exclusionary conduct aimed at securing and

 maintaining monopoly power.

 GMR Fixes Prices to the Musical Compositions in its Repertory

        84.     But for GMR’s exclusionary conduct, GMR’s affiliates would have the ability

 through direct licenses to offer RMLC’s members access to the same copyrighted works that

 GMR offers through a blanket license.          GMR and its affiliates are therefore horizontal

 competitors within the meaning of the antitrust laws. Were they to compete with one another,

 the price of public-performance licenses would naturally fall and the quantity of such licenses

 sold would increase.

        85.     GMR and its affiliates have agreed to allow GMR to aggregate and sell rights to

 its affiliates’ copyrighted music exclusively through blanket licenses, thus eliminating price

 competition among and between GMR and its members. By refusing to allow carve-out rights or




                                                  33
Case 2:19-cv-03957-TJH-AS Document 1 Filed 11/18/16 Page 38 of 51 Page ID #:38




 per-program licenses, GMR and its affiliates have agreed to make it uneconomical for consumers

 to negotiate direct licenses from the affiliates. This practice eliminates any price competition

 among GMR’s affiliates, as well as between GMR and its affiliates.

        86.    Other than to eliminate competition and obtain monopoly power, it is against

 GMR’s affiliates’ self-interest to force RMLC’s members to enter into blanket licenses with

 GMR as the only practical option to obtain access to the affiliates’ copyrighted works. The

 affiliates’ unadulterated self-interest would lead them to maintain maximum flexibility to

negotiate the best possible license fee for their work, including the ability to negotiate direct

 licenses with individual RMLC members.

        87.    GMR therefore functions as a naked cartel, and the blanket-license fee that it

imminently threatens to charge amounts to a form of price fixing between horizontal

 competitors. GMR’s cartel pricing weakens any existing benefits of the ASCAP/BMI/SESAC

paradigm and will not generate any offsetting benefits not already available in the marketplace;

nor will regulation or competitive pressures constrain GMR’s power over price.

GMR Artificially Inflates the Value of Its Blanket License By Licensing The Fractional
Works In Its Repertory As Though They Were Full Shares

        88.    GMR exercises its monopoly power in order to extract inflated licensing fees that

far exceed its affiliates’ underlying ownership rights.    It does so in two ways.     First, GMR

controls full public performance rights to only a small fraction of works in its repertory, but it

only offers fractional licenses to a significant percentage of its repertory, meaning that a radio

 station cannot perform those works without obtaining additional licenses from other PROs and/or

the co-owners of those works.

        89.    Second, GMR does not provide radio stations a way to determine reliably which

of the works in its repertory it licenses on full versus fractional bases at any given time. A radio



                                                 34
Case 2:19-cv-03957-TJH-AS Document 1 Filed 11/18/16 Page 39 of 51 Page ID #:39




 station that seeks access to GMR’s indispensable repertory must therefore agree to pay

 extortionate royalty fees that vastly overstate the rights conferred on that licensee. If stations had

 a way to ascertain reliably at all times which of GMR’s works in its repertory are fully versus

 fractionally licensed by GMR, a radio station could make the informed choice as to whether

 GMR’s blanket royalty fee demands are justified.            Because GMR does not provide this

 information in a reliable and up-to-date manner, a radio station cannot determine which works it

 can perform without a GMR license or without risking an infringement suit from an unknown

 co-owner, and must accede to GMR’s royalty demands.

        90.     GMR therefore threatens to leverage its price fixing and monopolistic scheme to

 extract above-market royalty payments from licensees, and obtaining a blanket license from

 GMR does not even entitle licensees the right to perform each covered work without risk of

 penalties for infringement.    The fact that radio stations are forced to accede to GMR’s rate

 demands without getting full benefits and without even being able to assess the true value of

 what they are buying is further direct evidence of GMR’s immense monopoly power.


 GMR Has Entered Into Exclusive-Dealing Contracts

        91.     GMR enters into de facto exclusive contracts with its affiliates, thus foreclosing

 any direct licensing between consumers and its copyright-holder affiliates.

        92.     Because GMR does not offer any viable alternative to its blanket license, no radio

 station has an incentive to acquire individual licenses directly from copyright holders or to

reduce or eliminate plays of GMR affiliates’ works. Absent a carve-out right, any direct license

that a consumer acquired would have no effect on GMR’s blanket-license fee, but would entail

 an additional royalty burden on the consumer. If radio stations purchase blanket licenses from

 GMR, therefore, they necessarily lack any incentive to acquire direct licenses from GMR



                                                  35
Case 2:19-cv-03957-TJH-AS Document 1 Filed 11/18/16 Page 40 of 51 Page ID #:40




 affiliates. As alleged in Paragraph 65, it is not possible for radio stations to obtain licenses

 directly from GMR affiliates and to forego dealing with GMR. Similarly, the lack of carve-out

rights eliminates any economic incentive to avoid playing the works of less than all GMR

affiliates (even if GMR offered a reliable means to determine what that would entail).        By

acquiring licensing rights over handpicked, indispensable musical works, and by foreclosing any

 direct licensing between its affiliates and consumers, or any prospect for a carve-out discount,

 GMR achieves de facto exclusive licensing rights.

 GMR Has Refused To Deal With Radio Stations On Other Than A Blanket Basis

        93.    GMR has not offered to deal with RMLC members that wish to purchase music

from its repertory other than on a blanket basis. GMR has ignored RMLC’s request to negotiate

for blanket-license carve-out rights or per-program licenses.     GMR also will not deal with

RMLC or its members unless those potential licensees pay monopolistic prices resulting from its

anticompetitive conduct, as opposed to competitive prices.         These refusals constitute an

exclusionary practice, foster GMR’s monopoly and quash competition.

                   GMR HAS A SPECIFIC INTENT TO MONOPOLIZE
                            THE RELEVANT MARKET

        94.    GMR has monopolized the market for copyrighted music in its repertory with the

specific intent of securing monopoly power and charging supracompetitive prices. In refusing to

deal with consumers who seek blanket-license carve-out rights or per-program licenses, in

entering into de facto exclusive contracts with its affiliates, and in imminently threatening to

extract monopoly rents from consumers, GMR has been motivated by neither efficiency nor any

other procompetitive factor. GMR’s principal objective is willfully to acquire and to maintain

monopoly power. Indeed, GMR’s founder has admitted that it has gathered a “full roster of

songwriters that nobody can, shall we say, comfortably exist without,” and that “[w]e at GMR



                                                36
Case 2:19-cv-03957-TJH-AS Document 1 Filed 11/18/16 Page 41 of 51 Page ID #:41




 believe in higher rates.” And GMR has been public about its intention to extract monopoly rents

 from licensees so that it can pay its affiliates at least 30% more than any other PRO.

        95.      As alleged in Paragraphs 65 and 66, GMR strategically hand-picks a relatively

 small number of affiliates simultaneously to create an essential repertory of musical works and to

 maintain a sufficiently small profile to avoid regulatory oversight.        GMR undertakes these

 actions with the specific intent of achieving and maintaining a monopoly.

                                   INJURY TO COMPETITION

        96.      GMR’s price fixing and monopolization imminently threaten to cause serious

 harm to the competitive process. If left unchecked, GMR’s anticompetitive conduct will cause

 RMLC’s members and other consumers to pay monopoly overcharges for musical compositions

 that would otherwise be available at competitive prices.          Such supracompetitive fees will

 generate unjustified wealth transfers from consumers to cartel members, and inefficiently distort

 behavior both in the market for GMR’s repertory of copyrighted music and beyond.

 Higher Prices

        97.      By forming a cartel with its affiliate copyright holders, by creating a bottleneck to

 the copyrighted musical works in its repertory, and by ensuring that certain of the copyrighted

 works to which it has exclusive rights are indispensable to consumers, GMR has eliminated

 competition and achieved monopoly power. GMR imminently threatens to exercise that power

 by extracting monopoly rents from RMLC members and from other consumers. ASCAP and

 BMI charge “fees based roughly on their respective market share accounting for partial interests

 in the songs in their repertories.” DOJ Statement at 11. GMR’s pricing demands differ from

 those competitive pricing practices in two important ways. First, GMR demands prices far in

 excess of what stations would pay if the exact same works were held in the repertories of




                                                  37
Case 2:19-cv-03957-TJH-AS Document 1 Filed 11/18/16 Page 42 of 51 Page ID #:42



ASCAP, BMI, or SESAC. In particular, GMR has demanded rates roughly two to three times

the value of their share of copyrighted performances by unilaterally concluding that undisclosed

 factors make its repertory more valuable than if other PROs licensed the exact same songs.

Those undisclosed factors, in fact, are merely the fact that GMR possesses monopoly power, and

 its tactics are nothing new. SESAC engaged in the same hold-up practices before agreeing to

 settle the antitrust lawsuit against it (after receiving an indication that it was likely to lose the

 suit) by submitting to a rate-setting procedure. Second, many songs in GMR’s repertory are only

partially licensed by GMR, and thus GMR’s blanket license by itself offers the user no protection

against infringement lawsuits with respect to those works.

        98.     GMR also demands that radio stations’ rates increase beyond these already

supracompetitive levels. GMR threatens to lock in its monopoly profits for years to come by

demanding that stations enter into licenses with rates that increase in both 2018 and 2019. Those

increases are pure monopolist rents unassociated with any improvement in GMR’s product.

        99.     GMR’s scheme threatens to lead to higher prices on an industry-wide level, far

beyond GMR and its repertory. In recent months, RMLC has also sought to reach an agreement

on license rates with other PROs; the PROs have made clear that they will try to extract higher

license fees from radio stations, if those stations give in to GMR’s demands and pay GMR’s

extortionate fees. In the ongoing RMLC/SESAC arbitration proceedings (as provided by the

their settlement agreement), SESAC held GMR out as a model for its own rate demands and is

seeking to compel production of GMR’s license agreements. Moreover, ASCAP and BMI have

sought “most-favored nation” or “reopener” clauses with RMLC in the event that RMLC’s

member stations agree to pay the demanded GMR royalty amounts. Indeed, BMI has stated that

its preference is to wait until RMLC enters into an agreement with GMR so that it can use the




                                                  38
Case 2:19-cv-03957-TJH-AS Document 1 Filed 11/18/16 Page 43 of 51 Page ID #:43



 resulting fee as a benchmark in its rate court. Thus, if GMR succeeds in imposing its artificially

 inflated rates, radio stations could be forced to pay monopoly rents to these regulated PROs as

 well.

         100.   Market prices that increase directly because of monopolization or attempted

 monopolization constitute a paradigmatic injury to competition.

 Restricted Consumer Choice

         101.   GMR’s monopoly scheme has allowed the company to secure exclusive rights to

 essential copyrighted musical works. Were it not for GMR’s ongoing and imminently threatened

 antitrust violations, RMLC members and other consumers could instead obtain licenses to those

 works from alternative sources.        GMR’s antitrust violations have foreclosed potential

 competitors (including its own affiliates) from licensing indispensable copyrighted musical

 works, thus extinguishing consumer choice and injuring the competitive process.

         102.   GMR’s anticompetitive conduct has also limited consumer choice as to the form

 of license to copyrighted musical works. By providing radio stations with a Hobson’s choice

 between a blanket license and no license from GMR at all, GMR denies consumers the option of

 per-program licenses, blanket carve-out rights, per-play licenses, or licenses solely for music

 appearing in commercial advertising. GMR’s illegal behavior has deprived consumers of the

 choice that competition would have bestowed upon them.

 Reduction in Consumer Efficiency

         103.   GMR’s anticompetitive conduct also causes significant inefficiency because it

 only offers fractional licenses and does not control 100% of public performance rights for a

 significant percentage of its repertory. A radio station cannot immediately use these partially

 controlled compositions until it also obtains the additional licenses it needs from the co-owners




                                                39
Case 2:19-cv-03957-TJH-AS Document 1 Filed 11/18/16 Page 44 of 51 Page ID #:44



 of those works or the PROs to which those co-owners have licensed their rights.              GMR

 exacerbates this inefficiency because it does not reliably disclose which of its works it partially

 licenses at any given moment.

                       ANTITRUST INJURY TO RMLC’S MEMBERS

         104.   RMLC’s members have suffered or imminently will suffer injury of the type that

the antitrust laws were intended to prevent and that flows from that which makes GMR’s acts

unlawful.

         105.   Monopolization that eliminates competition between rivals and that causes

consumers to pay supracompetitive prices epitomize the kind of injury that the antitrust laws

were intended to prevent. Absent injunctive relief, RMLC’s members will be forced either to

attempt to remove an essential set of works from their playlists, causing significant business

disruption and irreparable loss of goodwill and a reduction of choice to their own consumers, or

to purchase licenses directly from GMR and pay monopoly prices on account of GMR’s

anticompetitive conduct. Moreover, absent injunctive relief, even if RMLC’s members obtain

licenses from GMR, those licenses would only confer partial public performance rights to many

of the works in GMR’s repertory and would require RMLC’s members to obtain additional

licenses to play those works or risk catastrophic infringement suits. RMLC’s members’ injury

therefore flows from that which makes GMR’s behavior unlawful.              Absent an injunction,

RMLC’s members face an unabated imminent threat of continued future injury in the form of

having to pay supracompetitive prices and being subjected to a risk of copyright infringement

liability.

                                 ASSOCIATIONAL STANDING

         106.   RMLC is a trade association whose objective is to achieve fair and reasonable




                                                 40
Case 2:19-cv-03957-TJH-AS Document 1 Filed 11/18/16 Page 45 of 51 Page ID #:45



 license fees from PROs (including ASCAP, BMI, SESAC, and GMR) on behalf of its radio

 station members.   As such, RMLC has standing to bring the present action on behalf of its

 members.

        107.    RMLC’s members consist of approximately 7,300 U.S. radio stations involved in

 the business of terrestrial radio broadcasting. Another 2,500 stations are “bound” by the terms of

 RMLC-negotiated licenses with ASCAP and BMI and, thereby, also pay RMLC court-mandated

 fees to assist with operational expenses. Some 7,300 radio stations are represented by RMLC in

 pending binding rate arbitration with SESAC.        RMLC’s membership is open to all U.S.

 terrestrial radio stations or groups of radio stations “under direct or indirect common control.”

 RMLC’s member stations pay dues to RMLC and have the right to resign their membership.

        108.    Many of RMLC’s members face an imminent, concrete, and particularized injury

 in the form of being forced either to attempt to forego essential works or to contract with GMR

 and pay artificially high licensing fees for performance rights to the GMR repertory due to

 GMR’s anticompetitive behavior.      When radio stations lose the protection of their current

 ASCAP and BMI licenses-in-effect on January 1, 2017, they must either (1) purchase a license

 from GMR; (2) attempt to stop playing works in GMR’s repertory, which is not an option for

 reasons discussed above; or (3) continue playing the works and face the imminent prospect of

 enterprise-threatening infringement lawsuits. When SESAC imposed the exact same Hobson’s

 choice on RMLC’s member stations only four years ago, Judge Sitarski recognized that “a radio

 station must buy a SESAC license.” SESAC /, 2013 WL 12114098, at *10. The same is true

 here, where radio stations must purchase a GMR license before January 2017. As described

 above, GMR has consistently demanded prices far in excess of what a radio station would pay to

 license the same works at competitive prices from other PROs. GMR has demanded rates that




                                                41
Case 2:19-cv-03957-TJH-AS Document 1 Filed 11/18/16 Page 46 of 51 Page ID #:46




 are not reasonably tethered to the quantity or quality of songs in its repertory; worse, many of

those songs are partially licensed by GMR, which provides no assurance against the threat of

infringement of those works at any price.       Furthermore, GMR demands licenses that will

increase in rate yearly, regardless of the quantity or quality of songs in GMR’s repertory.

RMLC’s members face an imminent threat of harm as RMLC and its members currently

negotiate possible licensing terms with GMR.        If RMLC does not receive any relief, radio

stations will have to choose between acceding to GMR’s demands by entering into

anticompetitive licensing agreements, attempting to remove essential works from their

repertories (which is likely impossible) and suffering irreparable losses of customer goodwill, or

risking suit for copyright infringement.

        109.   Injunctive relief prohibiting GMR’s anticompetitive conduct and establishing a

negotiation process through which the parties could agree upon a fair and reasonable licensing

fee would prevent continued injury to RMLC’s members.

        110.   This suit is germane to RMLC’s purpose. RMLC has been negotiating licenses

with PROs on behalf of the radio industry since 1935, when it was still a part of the National

Association of Broadcasters, and negotiated the first industry-wide licensing agreement between

ASCAP and radio stations. RMLC’s mission statement declares that one of its objectives is “to

achieve fair and reasonable license fees with the music licensing organizations ... on behalf of

radio stations.” RMLC’s bylaws also authorize it to negotiate licenses and “to perform such acts

to accomplish its purposes as the Corporation may determine to be appropriate.” Additionally,

RMLC’s corporate charter declares as the first of the “purposes for which the corporation is

formed” “[t]o promote the common business interests of commercial radio stations . . . and, in




                                               42
Case 2:19-cv-03957-TJH-AS Document 1 Filed 11/18/16 Page 47 of 51 Page ID #:47




 particular, to represent the interests of the commercial radio industry on music licensing

 matters.”

         111.   RMLC’s claims do not require the individual participation of each of its members

 to obtain the relief that it seeks. RMLC seeks only injunctive relief, not damages. GMR has

 violated and imminently threatens to violate the antitrust laws by employing common licensing

 practices that affect virtually all of RMLC members. RMLC can establish the illegality of these

 practices through evidence of GMR’s conduct that is common to its members.

                                             COUNT I
                                          Monopolization
                           in Violation of Section 2 of the Sherman Act

         112.   RMLC repeats and realleges each and every allegation of this complaint.

         113.   GMR has willfully acquired and imminently threatens to maintain monopoly

 power in the market for licensing the copyrighted musical works in its repertory. GMR has done

 so through a series of exclusionary practices that are capable of foreclosing, and that have in fact

 foreclosed, equally or more efficient competitors.

         114.   By refusing to deal with radio stations other than by providing a blanket license

 with no per-program or carve-out alternatives, GMR forecloses licensing competition with other

 PROs and with its constituent affiliates.     Because of GMR’s unlawful agreements with its

 affiliates, and because GMR does not reliably disclose the full content of its repertory or the

 ownership interests it possesses in each work in its repertory, RMLC’s members have no

 practical or economically viable alternative to GMR’s blanket license. This refusal to deal has

 enabled GMR to acquire and threatens to allow GMR to entrench its monopoly in the licensing

 of music within its repertory.




                                                 43
Case 2:19-cv-03957-TJH-AS Document 1 Filed 11/18/16 Page 48 of 51 Page ID #:48




        115.    GMR has entered into de facto exclusive contracts with its affiliates that make it

 economically irrational for them to grant direct licenses to RMLC’s members. These exclusive

 contracts exclude competition in the licensing of the copyrighted works owned by GMR’s

 affiliates and enhance GMR’s monopoly power.

        116.    GMR has abused and threatens to continue abusing its monopoly power in order

 to maintain and enhance its market dominance by unreasonably restraining trade, in order to

 obtain licensing agreements with RMLC’s members at anticompetitive rates.

        117.    Through its predatory campaign, GMR has violated Section 2 of the Sherman Act

 by willfully monopolizing the market for the copyrighted works within its repertory.

        118.    GMR’s conduct has injured and imminently threatens further injury to RMLC’s

 members in their business or property as set forth above.        Among other things, RMLC’s

 members imminently must choose between attempting to forego essential musical works (which

 is likely impossible) and suffering the loss of customer goodwill, or contracting with GMR to

 pay higher fees for access to copyrighted works in the GMR repertory than they otherwise would

 have paid in the absence of GMR’s unlawful conduct.

    119.   An injunction is necessary to remedy the continuing violation.

                                           COUNT II
                                   Attempted Monopolization
                          in Violation of Section 2 of the Sherman Act


        120.    RMLC repeats and realleges each and every allegation of this complaint.

        121.    GMR has attempted to monopolize the market for licensing the copyrighted

 musical works in its repertory by engaging in predatory and anticompetitive conduct with a

 specific intent to monopolize that market, and there is a dangerous probability that GMR will

 achieve monopoly power.


                                                44
Case 2:19-cv-03957-TJH-AS Document 1 Filed 11/18/16 Page 49 of 51 Page ID #:49




        122.     GMR has engaged in a variety of predatory and anticompetitive conduct. It has

 strategically acquired rights to must-have works to ensure that radio stations must agree to its

 anticompetitive and predatory licensing demands. GMR has further destroyed competition by

 committing its affiliates to de facto exclusive licensing terms. At the same time, GMR does not

reliably make available information for licensees to allow them to determine which works fall

within GMR’s repertory, or which works GMR licenses fully versus only partially. As a result,

 GMR has demanded and threatens to extract supracompetitive licensing fees far in excess of the

actual value of its affiliates’ aggregate share of public performances.

        123.     GMR has displayed a specific intent to monopolize the market for licensing the

copyrighted works in its repertory.       None of its practices have any legitimate business

justification other than to foreclose competition with other PROs and their affiliates and to

extract supracompetitive licensing fees from radio stations that have no practical or viable

alternative to accepting GMR’s blanket license.         GMR’s practices are not related to any

efficiency-enhancing goal. Instead, GMR has rejected various efficiency-enhancing alternatives

to its blanket licenses such as carve-out rights or per-program licenses, and it does not permit its

affiliates to directly license their works. The public admissions by GMR’s founder that GMR

has amassed a “full roster of songwriters that nobody can, shall we say, comfortably exist

without,” and that “[w]e at GMR believe in higher rates” only underscore GMR’s specific intent

to monopolize.

        124.     To the extent GMR has not already achieved monopoly power, there is a

dangerous probability that it imminently will do so. GMR has achieved a 100% market share in

the relevant market for the works in its repertory, and it has also engaged in a variety of

anticompetitive practices by creating a repertory of indispensable works that GMR refuses to




                                                 45
Case 2:19-cv-03957-TJH-AS Document 1 Filed 11/18/16 Page 50 of 51 Page ID #:50



license except on a blanket basis. GMR has ensured that there are insurmountable barriers to

entering its market because it has engaged in practices designed to pay its affiliates more than

any rate-regulated PRO can afford. Radio stations face the imminent threat that GMR will be

able successfully to exercise its market power by forcing them to enter into anticompetitive

licensing agreements or suffer the devastating consequences of refusing such a license.

       125.    GMR’s conduct has injured and imminently threatens further injury to RMLC’s

members in their business or property as set forth above.

       126.    An injunction is necessary to remedy the continuing violation.

                                      RELIEF SOUGHT

WHEREFORE RMLC respectfully requests the following relief:

       A.      That GMR’s unlawful conduct be declared, adjudicated, and decreed a violation

               of Section 2 of the Sherman Act, 15 U.S.C. § 2;

       B.      That RMLC be awarded mandatory injunctive relief in the form of: (i) requiring

               GMR to issue licenses on application and to submit to a judicial rate-making

               procedure comparable to what the consent decrees regulating ASCAP’s and

               BMI’s behavior impose; (ii) establishing a process, during the judicial rate­

               making procedure, for the court to enter an appropriate order of disgorgement

               from GMR into a constructive trust of all moneys received from licensees above

               the judicially determined reasonable rate, and for distribution of that money pro

               rata to impacted radio stations, (iii) enjoining GMR from entering into de facto

               exclusive contracts with copyright holders; (iv) requiring GMR to make available

               economically viable alternatives to blanket licenses, such as per-program licenses,




                                                46
Case 2:19-cv-03957-TJH-AS Document 1 Filed 11/18/16 Page 51 of 51 Page ID #:51



            blanket carve-out fees, and commercial-only licenses; and (v) requiring GMR to

            offer only full-work licenses.

      C.    That RMLC be awarded expenses and costs of suit, including reasonable

            attorneys’ fees, to the extent provided by law; and

      D.    That RMLC be awarded such additional relief as the Court may deem proper.




Dated: November    2016


                                   Peter J. Mooney
                                   WHITE & WILLIAMS LLP
                                   1650 Market Street
                                   One Liberty Place, Suite 1800
                                   Philadelphia, PA 19103-7395
                                   Telephone: (215) 864-7164
                                   Facsimile: (215) 789-7664
                                   Email: mooneyp@whiteandwilliams.com

                                   Margaret M. Zwisler (pro hac vice to be filed)
                                   DC245951
                                   Jennifer L. Giordano (pro hac vice to be filed)
                                   DC496746
                                   LATHAM & WATKINS LLP
                                   555 Eleventh Street, NW, Suite 1000
                                   Washington, DC 20004
                                   Telephone: (202)637-1092
                                   Facsimile: (202) 637-2201
                                   Email: Margaret.Zwisler@lw.com
                                   Email: Jennifer.Giordano@lw.com

                                   Alfred C. Pfeiffer, Jr. (pro hac vice to be filed)
                                   CA120965
                                   LATHAM & WATKINS LLP
                                   505 Montgomery Street, Suite 2000
                                   San Francisco, CA 94111-6538
                                   Telephone: (415)391-0600
                                   Facsimile: (415) 395-8095
                                   Email: Al.Pfeiffer@lw.com




                                             47
